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                                  IPP International U.G. Declaration Exhibit A
                                    File Hashes for IP Address 69.203.72.199

ISP: Time Warner Cable
Physical Location: New York, NY



Hit Date UTC           File Hash                                          Title
11/18/2017 14:19:56    29796B5A62224484FB829BF3B84DDB3E02CE4F71           Would You Fuck My Girlfriend

11/16/2017 05:39:12    975A98587CD2FAA4E6B309B31B0C492715A93AB9           The Ranch Hand

10/30/2017 05:26:57    FD4E3CFBDD9879F2896436D0ECF5FD40C02971F5           The Tightest Blonde

09/26/2017 05:57:20    673AA4B478E333C74CF467AD24467FFB206B7019           Emerald Love

09/16/2017 14:28:28    507D295A735F5464F4C3DB79DC495B3077D31578           Piano Concerto

09/16/2017 14:18:42    B4140ED7691E78D2599C56E5C8694E344F7AC27F           An Afternoon Inside Kim

07/19/2017 04:16:46    CB4D67B15832C477518D6A32D8C6DD62093B3FD9 Definitely Not So Shy


Total Statutory Claims Against Defendant: 7




                                                  EXHIBIT A
SNY414
